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                            UNITED STATES DISTRICT COURT
                       DISTRICT OF OREGON – PORTLAND DIVISION



CALISTA ENTERPRISES LTD.,                           Case No. 3:13-cv-01045-SI
a Republic of Seychelles company,
                                                    EXHIBIT D
   Plaintiff,                                       TO PLAINTIFF’S FIRST AMENDED
                                                    COMPLAINT
- v. -

TENZA TRADING LTD.,
a Cyprus company,

   Defendant.


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825 Beacon Street, Suite 20 | Newton Centre, MA 02459                        Exhibit D to Plaintiff’s First
617-928-1800 | vgurvits@bostonlawgroup.com | matt@bostonlawgroup.com                Amended Complaint
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TENZA TRADING LTD.,
a Cyprus company,

   Counterclaim Plaintiff,

- v. -

CALISTA ENTERPRISES LTD.,
a Republic of Seychelles company, and
ALEXANDER ZHUKOV,
a Czechoslovakian citizen,

   Counterclaim Defendants.




Respectfully Submitted,                             Dated: August 7, 2014
Plaintiff Calista Enterprises Ltd.
By its Attorneys,

/s/ Matthew Shayefar                                /s/ Evan Fray-Witzer
Matthew Shayefar (pro hac vice)                     Evan Fray Witzer (pro hac vice)
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825 Beacon Street, Suite 20 | Newton Centre, MA 02459                        Exhibit D to Plaintiff’s First
617-928-1800 | vgurvits@bostonlawgroup.com | matt@bostonlawgroup.com                Amended Complaint
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Tenza Trading Ltd.
Ioanni Stylianou 6
2nd Floor, Flat 202                                        Domain Names in Dispute:
Nicosia, Cyprus 2002                                 largeporntube.com; goldporntube.com;
Complainant                                           kissporntube.com; boxporntube.com;
                                                       pipeporntube.com; 69porntube.com;
 v.                                                  royalporntube.com; bookporntube.com;
                                                     cubeporntube.com; freshporntube.com;
Calista Enterprises Ltd.                             lustporntube.com; bonusporntube.com;
Global Gateway 1749                                            directporntube.com
Rue de la Perle, Providence
Mahe Island, Seychelles                                          File Number:
Respondent                                                     FA1303001491515



          Respondent’s Submission of Other Written Statements and Documents

                  “The first rule of holes: When you’re in one, stop digging.”
                                                    - Molly Ivins

        Pursuant to Supplemental Rule 7(c), the Respondent herewith submits other statements
and documents in response to the Complainant’s Submission of Other Written Statements and
Documents (the “Complainant’s Supplement”). These statements are made to address
inaccuracies, attempts to mislead and blatant misrepresentations in the Complainant’s
Supplement. Although Complainant did not and could not reply to all of the Respondent’s
arguments in the Respondent’s Response, the Respondent gladly replies below to each of the
allegations in the Complainant’s Supplement point by point.

        However, before addressing each of the Complainant’s Supplement’s allegations point by
point, the Respondent must, first, address the Complainant’s most blatant misrepresentation and,
second, based on the additional evidence the Respondent now puts forward to expose the
Complainant’s blatant misrepresentation, explicitly put forth an additional argument based on
laches. However, the Respondent explicitly states its argument for laches should not be mistaken
as an admission that the Respondent has engaged in any wrongdoing. As detailed in the
Response and supplemented herein, the Respondent has not violated any of the Complainant’s
rights and the Complainant cannot satisfy even one of the requirements of Policy ¶ 4(a) in any
case.



                                               1

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A.      The Complainant and its Website Operator are One and the Same and the
        Complainant Knew of, Fostered, Encouraged, Rewarded and Profited From the
        Respondent’s Use of the Disputed Domains for Years

        The Complainant alleges that it contracts its website operations to “a third party
company,” DreamStar Cash SL and that Respondent’s invitation to the webmaster program was
from the operator of 4tube, “a completely separate company.” The Complainant puts forth these
allegations to attempt to skirt the issue of laches and the fact that it knew of fostered,
encouraged, rewarded and profited from the Respondent’s websites and domain names.
However, the evidence suggests that Tenza Trading Ltd., DreamStar Cash SL (“DreamStar”),
porntube.com and 4tube.com are all operated by the same individuals and as a single business
enterprise.

       Although the Complainant Tenza Trading Ltd. purports to be the registrant of the
porntube.com domain name1 and owner of the Putative Mark, every aspect of the Complainant’s
website is operated by DreamStar (which also operates porntube.com, the Porntube Webmaster
Program, 4Tube, Fux and Gals4Free). See DreamStar portfolio page at
www.dreamstarcash.com/portfolio, attached hereto as SAnnex 1; DreamStar Facebook page at
www.facebook.com/dreamstarcash/info, attached hereto as SAnnex 2.

        Steve Matthyssen is the founder, owner and chief of DreamStar. See DreamStar Team
page at www.dreamstarcash.com/about-us/team, attached hereto as SAnnex 3; See Mr.
Matthyssen’s “Ask Me Anything” thread on reddit.com, attached hereto as SAnnex 4; See blog
post on porntube.com regarding Mr. Matthyssen and DreamStar, attached hereto as SAnnex 5.
Porntube is unquestionably headed by Mr. Matthyssen. See xBiz article on Porntube, attached
hereto as SAnnex 6 (“According to the company, the PornTube team, led by online adult
industry veteran Steve Matthyssen, possesses up to a decade of experience in the affiliate
marketing space and has worked with hundreds of affiliate programs over the years. The team’s
portfolio includes Gals4Free.net, 4Tube.com and most recently, PornTube.com.”).

       Mr. Matthyssen and DreamStar are indivisible from the Complainant and the
Complainant’s website. Mr. Matthyssen is listed as the administrative contact for many of the
Complainant’s domain names. See WhoIs results for 0porntube.com, porntubedating.com,
porntubepremium.com, porntubepros.com and whatisporntube.com, attached hereto as SAnnex
7.

        Mr. Matthyssen is also the individual speaking on behalf of the Claimant in the ICQ chat
logs referenced in the Respondent’s Response. See information on DreamStar’s gals4free.net
website listing ICQ number 59661018 as “Steve,” attached hereto as SAnnex 8; posting by
Matthyssen on adult industry forum gfy.com with ICQ number 59661018, attached hereto as
SAnnex 9.

      It is simply dishonest for the Complainant to try to separate Mr. Matthyssen and
DreamStar from the Complainant and Porntube. Mr. Matthyssen is an integral part of the

1
 The Respondent reminds the panel that the Complainant uses a domain privacy service, so this fact has not been
confirmed by the Respondent. See Annex 18 to Respondent’s Response.

                                                        2

                                                                                                             Ex. D - p. 2
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Complainant’s operations, and the Respondent believes that Mr. Matthyssen is a director and/or
officer of the Complainant. It is plain fact that anything related to Porntube, whether the Putative
Mark, the porntube.com domain name, the porntube.com website or the porntube.com
webmaster program, is controlled and overseen by Mr. Matthyssen.

         It seems then that the only relevance in this dispute of the entity that is the Complainant
is that it (1) owns the Putative Mark which it, presumably, then licenses to DreamStar to run all
its operations and (2) that it files suit against innocent parties like the Respondent. Respondent
can only surmise that the Complainant has created this structure so that it can feign ignorance of
the actions of Mr. Matthyssen and DreamStar.

        In light of the above, and as detailed in the Response, the truth is as follows: In
September 2009, Mr. Matthyssen personally invited the Respondent to join DreamStar’s
webmaster program. Sometime in early 2011, Mr. Matthyssen gained control of Porntube when
DreamStar purchased Porntube and began operating it. Over the next two years, the
Complainant, through Mr. Matthyssen and DreamStar, paid the Respondent over $130,000 to
drive traffic to Porntube. Mr. Matthyssen even set up a contest for the Respondent and other
webmasters, which the Respondent won. Today, however, the Complainant (whose entire
business is run by Mr. Matthyssen and DreamStar) is asking the panel to forget everything that
happened in the past. It is a request that should not be granted.

B.     The Complainant’s Claims, If Any Ever Existed, Are Barred by Laches

         If, assuming arguendo, the Complainant ever had a good faith claim against the
Respondent (which the Respondent vigorously denies considering the fact that the Putative Mark
is generic and/or descriptive, that the Respondent offers a bona fide service and that the
Respondent did not act in bad faith when it registered and used the Disputed Domains), the
Complainant’s claim is now barred by the doctrine of laches. The Complaint and the
Respondent entered into a mutually beneficial relationship that lasted for years and all
throughout that period and, as detailed above, the Complainant knew, or at the very least should
have known, about the Respondent’s use of the Disputed Domains. The Complainant has slept
on its rights and as a result of this delay (during which time the Complainant benefitted greatly
from its affiliation with the Respondent) the Respondent would be unfairly prejudiced if the
Complaint’s request is granted.

        The Respondent emphasizes once again that its argument for laches should not be
mistaken as an admission that the Respondent has engaged in any wrongdoing. Its argument is
only added in the alternative as a necessary response to the Complainant’s demonstrably false
allegations that it did not know about the Respondent. As detailed in the Response and
supplemented herein, the Respondent has not violated any of the Complainant’s rights and the
Complainant cannot satisfy even one of the requirements of Policy ¶ 4(a).

C.     Point-by-Point Response to the Complainant’s Supplemental

      The following is a point by point response to the Complainant’s Supplement, tracking the
Complainant’s arguments in order.

                                                  3

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•   The Complainant states that “Mere allegations in the Petition to Cancel do not negate
    Complainant’s rights.” However, by the same stroke, a trademark registration is not an
    impenetrable fortress of rights. Unlike the patent system, trademarks do not undergo a
    vigorous application process – trademarks are simply registered unless the examiner
    notices a clear and convincing problem. The presumption of validity is a rebuttable one
    and the Petition to Cancel is simply the first step the Respondent has taken to rebut that
    presumption. The Respondent will continue to dispute the validity of the Putative Mark
    regardless of the outcome of this proceeding. At the very least, however, the bona fide
    disagreement regarding the validity of the Putative Mark casts a grave doubt on any
    inference the Complainant has asked the panel to take regarding bad faith arising from
    the Respondent’s use of the Putative Mark.

•   A party seeking to cancel the registration of a trademark must overcome the registration’s
    presumption of validity only by a preponderance of the evidence, the standard burden of
    proof in civil cases. This standard is set forth clearly in the case referenced by the
    Complainant, Cold War Museum, Inc. v. Cold War Air Museum, Inc., 586 F.3d 1352,
    1356 (Fed. Cir. 2009), therefore the Respondent is at a loss as to why the Complainant
    would claim that the presumption of validity “is an extremely high hurdle.” It is, in fact,
    as low as any final hurdle in the legal world.

•   The Respondent will dispute the validity of the Complainant’s European and Canadian
    trademarks just as vigorously and on the same grounds as the U.S. trademark. The
    invalidity of the U.S. trademark following a petition for cancellation will be strong
    evidence for the Respondent against the Complainant in Canada and Europe.

•   The Complainant is simply (and inexplicably) wrong with regards to its analysis of the
    Google Search results attached as the Respondent’s Annexes 3 and 4. One does not even
    have to consult the websites themselves to see that they describe themselves as a porn
    tube. Twenty five out of thirty use the words “porn tube” in their title or in the short
    description that shows up in the Google Search results in Annex 3 (even more use it
    within their web pages). All thirty of the results in Annex 4 use the words “porn tube” in
    their title or in the short description. Each of these websites use the “porn tube” term in a
    descriptive or generic nature.

•   Although the Complainant argues that the use of the “porn tube” term by all these other
    websites is infringement of its Putative Mark, as Abraham Lincoln is quoted as saying,
    “calling a dog’s tail a leg doesn’t make it a leg.” It is not infringement simply because
    the Complainant says it is so. The Complainant’s argument in this regard assumes its
    own conclusion.

•   The Respondent is unsure as to the relevance of the Complainant’s point that many of
    websites identified in the search results are commonly owned. The only conclusion that
    can be drawn from this is that some of the largest streaming adult video networks on the
    Internet all describe their services as porn tubes (which is an argument in favor of the
    Respondent).

                                              4

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    •   The Complainant’s suggestion that Annex 5 must be viewed with caution is
        unsubstantiated as its disagreement with the analysis is, once again, simply wrong.
        Attached hereto as SAnnex 10 are screen captures of the websites listed by the
        Complainant showing exactly where the websites use the “porn tube” term descriptively
        and/or generically.2 In each case, the term is used in a fashion visible to users. The fact
        remains that over 65% of the top porn tube websites on the Internet use the “porn tube”
        term descriptively (and not just 31%, as the Complainant states).

    •   The Respondent attached its Annex 2 simply to demonstrate the prevalence of the term
        “tube” in modern Internet culture and how it grew out of the popularity of YouTube.
        Consequently, the relevance of the Complainant’s SAnnex 3 is lost on the Respondent. It
        only shows the weakness of the Complainant’s Putative Mark.

    •   The issues relevant to the consent agreement between the registrant of the Putative Mark
        and the PORNOTUBE mark are exactly as relevant to this dispute. The Complainant
        admits that it first filed an opposition to the PORNOTUBE mark but eventually entered
        into a consent agreement with that party, agreeing in the end that there was no confusion
        between the two marks. Pornotube.com is a porn tube almost exactly like the
        Complainant’s website. It markets to the same exact audiences as the Complainant and
        the Respondent. There is simply no basis for the Complainant’s argument that the factual
        basis relevant to the PORNOTUBE dispute differs from the current dispute. The
        Complainant agreed that PORNOTUBE did not infringe upon and is not confused with
        the Putative Mark. The same conclusion holds with the Disputed Domains.

    •   Moreover, the Respondent did not put forth its argument regarding the consent agreement
        for the purpose of showing descriptiveness. The argument was placed in that section of
        the Response simply because it fit in response to the Complainant’s allegation that the
        Putative Mark was issued without any incident. In this manner, it was clear evidence of
        bad faith. The Respondent’s reliance on the consent agreement was not misplaced.
        However, as detailed in Section B of the Response, the consent agreement is also
        evidence that confusion is not possible between the Putative Mark and the Disputed
        Domains and that the Complainant has essentially stated so in the consent agreement.

    •   The Respondent’s arguments regarding likelihood of confusion are firmly based in law.
        Courts regularly take into account the use of spaces, colors, fonts and other distinctive
        depictions in their analysis of likelihood of confusion. See, e.g., Primepoint, LLC v.
        Primepay, Inc., 545 F. Supp. 2d 426 (D.N.J. 2008) (taking into consideration use of
        colors, word emphasis and other distinctive renderings for the overall question of
        “whether the marks viewed separately and in their entirety could lead to the likelihood of
        confusion”). The fact remains that the rendering of the titles of the Respondent’s
        websites are so distinctive that it is virtually impossible for a user to be confused.


2
 The Complainant lists tnaflix.com as one of the websites which does not use the “porn tube” term as a generic or
descriptive term. The Complainant is right on this account, but the Respondent’s Annex 5 never said any
differently.

                                                         5

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   •   The Complainant continues to rely solely on the cases of Target Brands, Inc. v. Bealo
       Group S.A. and AltaVista v. Krotov for its allegation that the Respondent does not offer a
       bona fide service. As an initial matter, it is shocking that the Complainant continues to
       argue that the Respondent does not engage in a bona fide service given the fact that the
       Complainant knowingly sought out and paid the Respondent for its service. In any case,
       its reliance on the case law is misplaced. In the cited cases, the complaints were based on
       long-standing and unopposed trademarks like TARGET and ALTAVISTA. In neither
       case did the respondents even argue the question of the validity of the complainant’s
       rights in the disputed mark (in the AltaVista case, the respondent did not even make a
       submission in its defense). The facts could not be any different here. The Respondent
       vigorously denies the Complainant’s rights in the Putative Mark because it is generic and
       descriptive. Bad faith cannot be attributed to the Respondent simply because the
       Complainant believes the Putative Mark is indestructible.

   •   The Complainant’s attempted reliance on the Webmaster terms of use is unavailing
       because it assumes its conclusion that the Respondent is infringing its Putative Mark.

   •   The Complainant’s attempt to discredit the Respondent’s Annexes 19 and 21 is
       bewildering. Annexes 19 and 21 show the Respondent and the Disputed Domains listed
       on the Complainant’s website as one of the Complainant’s most successful affiliates. The
       only party capable of displaying the information shown in Annexes 19 and 21 on the
       Complainant’s website is the Complainant itself and Annexes 19 and 21 are clear
       evidence that the Complainant knew of the Respondent and the Disputed Domains. The
       Disputed Domains were not simply one of the supposed 80,000 domains that participated
       in the Complainant’s webmaster program – they were among the most successful
       domains in the webmaster program, accounted for up to 8.25% of the Complainant’s
       affiliate traffic, were the cause for $130,000 in compensation to the Respondent by the
       Complainant and the basis of an extra prize awarded to the Respondent in a highly
       publicized contest.

        The remainder of the Complainant’s supplemental response depends upon its disproven
allegation that it did not know and could not know about the Respondent’s use of the Disputed
Domains. This argument is baseless and in bad faith. As proven above in Section A and in the
Response, the Complainant knew of, fostered, encouraged, rewarded and profited from the
Respondent’s use of the Disputed Domains.

      In light of the foregoing and prior submissions, the Respondent respectfully requests that
the Complainant’s remedy should be denied.

Respectfully submitted,
Respondent Calista Enterprises Ltd.
By its Attorney,
/s/ Matthew Shayefar
Matthew Shayefar, Esq.
Val Gurvits, Esq.
Boston Law Group, PC                                Date: May 2, 2013.

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Alphaporno.com




Hellporno.com




ixxx.com




Spankwire.com




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Sunporno.com




Video-one.com




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Xnxx.com




Xtube.com




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Porn.com




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Youjizz.com




                                                                               Ex. D - p. 42
